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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )   Case No. 16 CR 590
    v.                                  )
                                        )   Judge Gary Feinerman
MARCO PROANO                            )

   GOVERNMENT’S SUPPLEMENTAL FILING IN SUPPORT OF ITS
RESPONSE TO DEFENDANT’S MOTION TO DISMISS THE INDICTMENT




               EXHIBIT A
Case: 1:16-cr-00590 Document #: 66-1 Filed: 06/19/17 Page 2 of 28 PageID #:474




               IN RE:     GRAND JURY                   GRAND JURY NO.

                          INVESTIGATION                  15 GJ 327




                              BEFORE THE FEDERAL GRAND JURY

                            (Special August 2015 Grand Jury)



                                       August 25, 2016

                                         12:30 p.m.



               PRESENT:

                            THE HONORABLE ZACHARY T. FARDON
                            United States Attorney, by,
                            MS. GEORGIA ALEXAKIS
                            MS. ERIKA CSICSILA
                            Assistant United States Attorneys
                            Chicago, Illinois




                                   (The Grand Jury, having convened

                                  at 12:30 p.m. on the 25th day of

                                  August 2016, pursuant to

                                  adjournment, met in closed session

                                  and the following proceedings were

                                  had herein. )




                                                                   GJ-TRAN_008-000001
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                                                                                 2




                                       PATRICK CAMDEN,

                having entered the Grand Jury Room, was sworn by the

                Foreperson as follows:

                                            THE FOREPERSON:      Do you

                                      solemnly swear or affirm that the

                                     testimony you're about to give is

                                     the truth, the whole truth, and

                                     nothing but the truth, so help you

                                     God?

                                            THE WITNESS:     I do.

                                            THE FOREPERSON:      Please be

                                     seated.

                                            (Whereupon, the witness was

                                     sworn.)

                                         EXAMINATION

               BY MS. ALEXAKIS:

                  Q     Could you please state and spell your name,

              for the record?

                  A     Patrick Camden, C-a-m-d-e-n.

                  Q     Mr. Camden, you received a subpoena to

              testify today, correct, your attorney did?

                  A     My attorney did, yes.

                  Q     And before we begin, I want to make sure that

              you understand what rights you have regarding this




                                                                   GJ-TRAN_008-000002
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                                        PATRICK CAMDEN                           3




               Grand Jury proceeding.        You understand that this

               Grand Jury is investigating a possible violation into

               federal criminal law, correct?

                   A     Yes, ma'am.

                   Q     You understand that you have been placed

               under oath, correct?

                   A     Yes, ma'am.

                   Q     So you understand that -- and you understand

               that all of these proceedings are being transcribed

               by the court reporter in front of you?

                   A     Yes, ma' am.

                   Q     You have an attorney who has represented you

               in connection with these proceedings, correct?

                  A      That's correct.

                  Q      That's Jennifer Russell?

                  A      Yes, ma'am.

                  Q      You understand that while Miss Russell can't

               be in the room with you while you're testifying, if

               you want to confer with her at any point during your

               testimony, the Grand Jury will give you a reasonable

              opportunity to do that, correct?

                  A     Yes, ma'am.

                  Q     You understand that you have a Fifth

              Amendment right regarding these proceedings, meaning




                                                                   GJ-TRAN_008-000003
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                                        PATRICK CAMDEN                           4




               that if I ask you a question and you feel that an

               honest answer to that question would incriminate you,

               you have a right not to answer that question?

                   A     Yes, ma' am.

                   Q     And you understand that if you do make any

               false statements, that those statements could be used

               against you in a later investigation or charges

               against you, for example, for perjury?

                  A      Yes, ma' am.

                  Q      Mr. Camden, you are currently a spokesperson

               for the Fraternal Order of Police, correct?

                  A      Yes, ma' am.

                  Q      And the Fraternal Order of Police is a union

               for police officers?

                  A      That is correct.

                  Q      It's often referred to as FOP for short,

              correct?

                  A      Yes, ma'am.

                  Q      How long have you been the spokesperson for
              FOP?

                  A      Since April of 2011.

                  Q     And what are your responsibilities as an FOP
              spokesperson?

                  A      Primarily responding to police involved




                                                                   GJ-TRAN_008-000004
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                                         PATRICK CAMDEN                          5




               shootings, to be able to talk to the media giving

               them the basic very preliminary facts of what took

               place at the shooting.

                   Q      Do you have an estimate as to the number of

               police involved shootings that you have covered as an

               FOP spokesperson?

                   A      It has to be around 100, 150, somewhere in
               that area.

                   Q      So this is since April of 2011?

                  A       Yes, ma' am.

                   Q      You're paid by the FOP on a contract basis,
               correct?

                  A       That's correct.

                  Q       So there is a monthly amount that you're paid

               that you and FOP have agreed to?

                  A       That is correct.

                  Q       You were formerly an officer with the Chicago

               Police Department, correct?

                  A     Yes, ma'am.

                  Q     How long were you an officer?

                  A     Twenty-nine years and a day.

                  Q     And while you were with Chicago Police

              Department, you for some period of time served as the

              deputy director of media relations with CPD, correct?




                                                                   GJ-TRAN_008-000005
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                                       PATRICK CAMDEN                            6




                   A     Yes, ma'am.

                   Q     How long were you in that role?

                   A     Ten years.

                   Q     Do you have an estimate as to the number of

               shootings, police officer involved shootings, that

               you had to cover when you were a deputy director of

               media relations?

                  A      Approximately 350.

                   Q     And you have a number of friends,         I assume,

               who work for CPD?

                  A      Yes, ma'am.

                  Q      Do you have family members who have worked or

               work for CPD?

                  A      No, ma'am.

                  Q     Anyone else in your family ever work for CPD?

                  A      No, ma'am.

                  Q     As deputy director of media relations with

              CPD, you spoke with the press, correct?

                  A     That is correct.

                  Q     And who is it within CPD that currently has

              the responsibility to speak with the press?             You

              don't need to name a name.

                  A     It would be somebody from news affairs or

              it's changing on a pretty regular basis.             I don't




                                                                   GJ-TRAN_008-000006
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                                        PATRICK CAMDEN                           7




               know if there's one defined person that does.

                   Q     Why does FOP have a spokesperson?

                   A     To be able to give the very preliminary facts

               of an officer involved shooting at the time of the

               shooting.

                   Q     Why does FOP have a spokesperson if CPD is

               also issuing statements to the media or answering

               questions from the media?

                   A     CPD's statements come out about four or five

               hours after the shooting and with social media, you

               have to be able to get out the basic facts early.

                   Q     And when you say the CPD statements come out

               four to five hours after a shooting, that's

               generally?

                  A      Generally, yes.

                  Q      So FOP from your perspective is more

               responsive, quicker?

                  A      Yes, ma'am.

                  Q     And is it fair to say that FOP wants a

               spokesperson so that the spokesperson is telling the

              story from the officer's perspective?

                  A     That would be correct, yes, ma'am.

                  Q     How are you typically notified of a police
              involved shooting?




                                                                   GJ-TRAN_008-000007
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                                        PATRICK CAMDEN                           8




                   A     A phone call from the union rep that's

               working that day.

                   Q     And what are you typically told during those

               phone calls?

                   A     Location of the shooting, obviously there is

               an officer involved shooting, the location and who

               the rep was.     I would be told that.

                   Q     And then you go to the scene of the shooting?

                   A     Yes.

                   Q     How long does it typically take you to get to

               the scene of the shooting?         I know the answer will

               depend on where the shooting is.

                  A      Yes.

                  Q      Is it fair to say that you try to get to the

               shooting, the scene of the shooting, as quickly as
               possible?

                  A      Yes, yes, I do.

                  Q     Who do you typically talk to when you arrive

              at the scene of the shooting?

                  A     The union rep that's working on the shooting.

                  Q     When you say union rep, that's synonymous
              with an FOP field rep?

                  A     Yes, ma'am.      I'm sorry.

                  Q     How many field reps are there, union




                                                                   GJ-TRAN_008-000008
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                                        PATRICK CAMDEN                            9




                representatives, at a scene typically?

                   A      Typically it would be one.

                   Q      And what do you talk to the field rep about?

                   A      Generally he would give me a rundown of the

                basic facts of what took place.

                   Q     What is your understanding where the FOP

                field rep gets that information?

                   A      It's either from talking to the officer, if

               he did, or talking to the people investigating the

               shooting at that point in time.

                   Q     Do you ever talk to the officer who did the
               shooting?

                   A     Never.

                   Q     Do you ever talk to any other officers who

               saw the shooting?

                   A     If I did, it would be cordially, it wouldn't

               be anything about the shooting.

                   Q     Cordially meaning?

                   A     Just, hey, how are you.

                   Q     Have you ever spoken to victims of the
               shooting?

                  A      No, ma' am.

                  Q      Detectives or any other officers who are

               investigating the shooting?




                                                                   GJ-TRAN_008-000009
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                                        PATRICK CAMDEN                            10



                   A      Regarding the shooting, no, ma'am.

                   Q      Do you talk to any witnesses, non-law

               enforcement witnesses, who may have seen the

                shooting?

                   A     No, ma' am.

                   Q     How long do you typically spend gathering

               information about the shooting?

                   A     Generally it would be about an hour.

                   Q     And then you prepare a statement based on the

               information that you've gathered?

                   A     That's correct.

                   Q     And that's the statement that you end up

               giving to the press?

                   A     That's correct.

                   Q     When you give the statement to the press, do

               you also answer any follow-up questions from the

               press?

                   A     Depending on the questions.

                   Q     What do you mean by that?

                   A     They could ask a question that I didn't have

               the answer to and I would tell them I don't know.

               They would have to follow-up with news affairs.

                  Q      Do you provide updates to the press after

               your initial statement?




                                                                   GJ-TRAN_008-000010
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                                        PATRICK CAMDEN                            11



                   A      No, ma' am.

                   Q     Have you ever amended a statement as an FOP

                spokesperson after you learned new information about

               the shooting?

                   A     No, ma' am.

                   Q     So is it fair to say that you give one

               statement as quickly as possible as you can after the

               shooting based on what the FOP field rep tells you

               and that's the end of your involvement?

                   A     That's correct.

                   Q     So let's talk about an officer involved

               shooting that took place on December 22nd, 2013.              You

               went to the scene of that shooting, correct?

                   A     That is correct.

                   Q     Do you have any recollection as to what time

               you arrived?

                   A     No, ma'am, I don't.

                   Q     Do you have any recollection as to who was

               there when you arrived?

                   A     I'm making the assumption it was a field rep
               from FOP.

                   Q     You don't remember who that field rep was?

                   A     No, ma'am.

                   Q     Based on your practice though, you would have




                                                                   GJ-TRAN_OOS-000011
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                                        PATRICK CAMDEN                            12



                spoken to the FOP field rep, correct?

                    A     Absolutely.

                    Q     Do you remember what the FOP field rep told

                you at that time?

                   A      I have no independent recollection of that

                shooting.     I obviously saw the clip, the newspaper

                clip that you presented to me.         Aside from that, no,
                ma'am.

                   Q      And you're referring to a news article that I

                showed you just a little bit ago before you came in

                to testify before the Grand Jury?

                   A      That's correct.

                   Q      I'll show you that news article in a few

               minutes and we can talk about that more.             So you

               don't have any recollection of speaking with Officer

               Marco Proano, the officer who did the shooting in

               this case?

                   A     No, I wouldn't talk to the officer involved

               in the shooting.

                   Q     And you didn't speak to any of his fellow

               officers who saw the shooting?

                   A     No, ma' am.

                   Q     Okay.    Did you make any notes related to the
               shooting?




                                                                   GJ-TRAN_008-000012
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                                        PATRICK CAMDEN                            13



                   A      Other than on an invoice that I sent in at

                the end of that month documenting the shooting time

                and location, no, I keep no records of it.

                   Q     And that's an invoice you provide to FOP so

               they can pay you?

                   A     Yes, ma'am.

                   Q     So as you're gathering information or talking

               to the FOP field rep, you're not jotting down any

               notes that you're then going to use to formulate your

               statement?

                   A     No.

                   Q     So this is a little off the cuff?

                   A     Very much so.

                   Q     All right.     So I would like to show you

               what's been marked as Grand Jury Exhibit Camden.

               It's a two-page document printed out from the web, a

               news article published by CBS Chicago on December

               22nd, 2013.     Do you have that in front of you,

               Mr. Camden?

                   A     Yes, ma'am.

                   Q     And you see on the first page of the

               statement sort of in the middle -- I'm sorry -- the

               first page of the article in the middle of the page

               it says -- the headline says, "Two teens shot by




                                                                   GJ-TRAN_008-000013
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                                        PATRICK CAMDEN                            14



                police in Roseland."        Do you see that?

                   A      Yes, ma'am.

                    Q     And Roseland is the neighborhood where the

                shooting took place, correct?

                   A      Correct.

                   Q      And then it says December 22nd, 2013,

                5:50 p.m., correct?

                   A      Correct.

                   Q      And is it your understanding that the

                shooting took place a little bit after 5 o'clock that

               evening?

                   A      I don't know exactly.       I would assume that's

               the case based on what I'm looking at.

                   Q      Okay.   You're right because the article --

               the second paragraph of the article reads, "About

               5:00 p.m. police pulled over a speeding stolen car

               near 95th and LaSalle, according to a statement from

               the news affairs office."         Do you see that?

                   A      Yes, ma'am.

                   Q      And news affairs, that's situated at CPD,
               correct?

                   A      That's correct.

                   Q      And the second -- or I'm sorry -- the third

               paragraph goes on to say, "After the car stopped, the




                                                                   GJ-TRAN_008-000014
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                                         PATRICK CAMDEN                           15



                driver got out of the car and ran away," according to

                the statement, correct?

                   A       I'm assuming that's the case, yes, ma'am.

                   Q       Right, and that's the statement from news

                affairs.     I'm going to turn to the second page of

                this exhibit and I'm going to read the first full

               paragraph on the page.        It says, "Fraternal Order of

                Police spokesman Pat Camden's narrative of the

                incident was different than the news affairs

               statement.      He said there were seven people in the

               car and after the car stopped, a passenger got out

               through the rear driver side door.           The driver backed

               up and hit the passenger.         Officers then began

               walking up to the car telling the driver to stop, but

               the car began to pull away dragging the passenger

               Camden said."      Do you see that?

                   A       Yes, ma'am.

                   Q       And then I'll read the next paragraph as

               well.    It says, "Concerned with the safety of the

               person being dragged, officers opened fire on the car

               striking two teens inside.         Camden said the teens'

               injuries were not thought to be life-threatening.

               Camden also said a replica weapon was found in the

               vehicle."     Do you see that?




                                                                   GJ-TRAN_008-000015
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                                        PATRICK CAMDEN                            16



                   A      Yes, ma'am.

                   Q      Do you have any recollection of making these

                statements?

                   A      Independent recollection, no, ma'am.

                Obviously I did.      That's what CBS is reporting.

                   Q      Do you know why your statement of what

                happened that night would have differed from the

                statement given by news affairs?

                   A      This was a statement that's paraphrased from

               what I said that they had on camera.            So a producer

               or an editor is rewriting the statement.            Why it's

               different, I couldn't tell you.          That's the

               information I was given at the time that I was on the

               scene that I gave to the media.

                   Q      So you don't have any independent knowledge

               of the version of events reflected in this article?

                   A      That's correct.

                   Q      Okay.   So you don't actually know that a

               passenger tried to get out through the rear door,

               correct?

                   A      I wasn't on the scene to see that, no.

                   Q      And you don't actually know that a driver

               hit -- the driver of the vehicle hit a passenger,

               correct?




                                                                   GJ-TRAN_008-000016
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                                        PATRICK CAMDEN                            17



                    A     No, ma' am.

                    Q     You have no reason -- you don't have any

                knowledge, personal knowledge, that the officers told

                the driver of the vehicle to stop?

                   A      That's correct.

                   Q      You don't have any personal knowledge that

                the driver dragged a passenger?

                   A      That is correct.

                   Q     And you don't have any personal knowledge

               that a replica weapon was found inside the car?

                   A     That's also correct.

                   Q     Did you know that there is a video of the

               shooting?

                   A     No, I didn't.

                   Q     So it's fair to say then that you've never

               watched the video?

                   A     That is correct.

                   Q     Have you ever gone to a shooting where based

               on what you learned that night you thought the

               shooting wasn't justified?

                   A     Not that I can recall, no, ma'am.          Not within

               the parameters of working for FOP.

                   Q     Have you ever refused to comment to the

               media?




                                                                   GJ-TRAN_008-000017
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                                        PATRICK CAMDEN                            18



                   A     No, ma'am.

                   Q      Following an officer involved shooting?

                   A     No, ma' am.

                   Q      I don't have any other questions for you,

               Mr. Camden.

                                            MS. ALEXAKIS:      Do any of the

                                       Grand Jurors?

               BY A GRAND JUROR:

                   Q     Mr. Camden, I have a couple questions for

               you.    First of all, when you make a statement to the

               media or public or whomever it might be, do you make

               this notation that you are only speaking on behalf of

               what you understand what happened, you make it clear

               that you're not investigating the incident or

               anything, you're just kind of relaying information

               that was given to you?

                   A     That's a very good question, sir.          I do.    At

               the beginning of any statement I ever gave the media,

               that what I was telling them is based on very basic

               facts that were given to me by another individual at

               this point in time.       You never see that in print, you

               never see that on TV because that was the disclaimer.

                   Q     So you do have that.       The second question is:

               You said you get your facts from the field rep that




                                                                   GJ-TRAN_008-000018
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                                        PATRICK CAMDEN                            19



                was attending before you got there?

                   A      Right.

                    Q     Once you prepare your statement that's about

                to go in front of the cameras or whatever,

                microphones, do you double-check with this rep again

                to make sure that you guys have it right or do you

                just rely on him telling you once?

                   A      Generally if there was a question about the

                time or what hospital they took the offender to or an

                incident I wasn't sure of, I would talk to him again,

               but in most cases it was pretty well settled after

               our initial conversation.

                   Q     So you can trust yourself that you wrote down

               whatever you're about to say as he told it to you,

               you're not omitting anything or adding anything?

                   A     That's correct, sir.

               BY MS. ALEXAKIS:

                   Q     To be clear.     You testified earlier that you

               don't actually write anything down?

                   A     That's correct.

                   Q     And for this particular shooting, do you have

               any recollection as to how many times you had spoken

               to the FOP field rep before you answered questions

               from the press or made any statements?




                                                                   GJ-TRAN_008-000019
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                                        PATRICK CAMDEN                            20



                   A      No, ma'am.     I couldn't swear to it, no.

                BY ANOTHER GRAND JUROR:

                   Q      Mr. Camden, as the spokesperson for the FOP,

                is it your -- how do I say it?         Are you there to give

                a good light to the FOP?

                   A     To be very honest with you, sir, I'm there to

                give a good light to the officer that's involved in

               the shooting.      As a police officer for 40 years, I

               have never met anybody, any police officer that woke

               up in the morning and said I was going to go out and

               shoot somebody.       It's a very traumatic situation for

               the officer and I feel the officer deserves -- before

               social media castigates him, I feel the officer needs

               at least to get the basics of the shooting out.

               BY ANOTHER GRAND JUROR:

                   Q     I would imagine most of these scenes are

               pretty chaotic.      How often do you find out after

               you've given your statement that some of the

               information that you got wasn't accurate just because

               of the craziness of what might be going on at that
               moment?

                   A     Generally I would get there -- again,

               depending on the location and the time of the

               shooting, by the time I would get there, most of the




                                                                   GJ-TRAN_OOB-000020
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                                        PATRICK CAMDEN                            21



                chaos was settled down.        If it was still going on, we

               would move to a different location so we didn't start

                it all up again.      Your question on finding out about

                something after the fact,       I can't remember an

                instance with the FOP where that happened.

                   Q     You feel like most of the time the stuff

               the information you're given at the time doesn't

               change later on, that there would be that -- you say

               you don't ever amend your statements or go back and

               fill in holes or clarify.         So you feel like when you

               leave the scene, whatever statement you give to the

               press is usually pretty accurate then?

                   A     Again, putting out the disclaimer on the

               front end that it's very basic, preliminary

               information, yes, ma'am.

               BY MS. ALEXAKIS:

                   Q     But you don't follow-up to find out?

                   A     No, ma'am.

               BY ANOTHER GRAND JUROR:

                   Q     So that I can understand.        Your job is

               primarily to give one statement on any given officer

               shooting involvement?

                   A     Yes, ma'am.

                   Q     Okay.    You're not there to do any more




                                                                   GJ-TRAN_008-000021
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                                        PATRICK CAMDEN                            22



                follow-up, that's not your job, it's just to give the

                first basic statement?

                   A      When the media would call asking about

                follow-up questions, I would refer them to news

                affairs because the police department was doing the

                investigation, not the union.

                BY ANOTHER GRAND JUROR:

                   Q     What is your expectation on how much the

                field agent would know about the shooting?            My

               understanding is the field agent would talk to the

               shooter and I would think would get there before you.

               Is his job to give you a lot of details on what

               happened or at least everything he knows?

                   A     I would refer to what I would say is the

               Reader's Digest version.        Again, giving the media the

               basics of what happened.        The field rep would do the

               same for me, just the very preliminary facts of what

               took place.

                   Q     So the field rep should probably know a more

               detailed description of what happened and then give

               you the highlights?

                   A     To be honest with you, sir, not necessarily.

               Again, depending on the situation, depending on the

               totality of the circumstances, some of them can be




                                                                   GJ-TRAN_OOB-000022
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                                        PATRICK CAMDEN                            23



                very complicated.      The media is a little inpatient at

                times, social media has no patience.

                BY ANOTHER GRAND JUROR:

                    Q     When you've gone back and, let's say, seen an

                article like this related to an incident that you've

                been recorded on, have you obviously been misquoted

                or the information that you provided that you can

                remember been totally false or incorrect or whatever?

                   A     Well, a lot of times, as in this article, it

                gets paraphrased, you know, it's not a direct quote.

                Part of the reason for talking to the media, and I

               will go back to my days with CPD, is the producers

               looking at the video of what I said would be able to

               get the same facts out to the public versus trying to

               piece together what's on social media or hearsay.

                   Q     Do you have any liability in the situation as

               representing the FOP and being the spokesperson for

               them in making these statements?

                   A     I guess because I'm sitting here I would say,
               yes, I do.

               BY ANOTHER GRAND JUROR:

                   Q     Can I ask you:      You are a spokesperson at a

               shooting where an officer's discharged his weapon.

               Are you also on the scene when an officer is shot, do




                                                                   GJ-TRAN_OOB-000023
Case: 1:16-cr-00590 Document #: 66-1 Filed: 06/19/17 Page 25 of 28 PageID #:497
                                        PATRICK CAMDEN                            24



                you represent both sides of that?

                   A      I would be, I have been.        Generally when an

                officer was shot I would be at the scene, but I

                generally would leave the statements to the

                superintendent of police because at that point he's

                going to talk to the media.

                                            MS. ALEXAKIS:      Are there any

                                      other questions for Mr. Camden?

                                      Not seeing any, I would ask that

                                      the witness be excused.

                                            THE FOREPERSON:       Thank you

                                      very much.

                                             (WHEREUPON there being no

                                      questions by the Grand Jurors, the

                                      witness was excused.)




                                                                   GJ-TRAN_OOB-000024
Case: 1:16-cr-00590 Document #: 66-1 Filed: 06/19/17 Page 26 of 28 PageID #:498

                                        PATRICK CAMDEN                            25



                IN RE:      GRAND JURY                Case No.
                            INVESTIGATION            15 GJ 327




                                    C E R T I F I C A T E


                         I, MELISSA A. HILL, CSR, do hereby certify

                that I reported the proceedings had in the above

               matter before the Federal Grand Jury in the Grand

                Jury Room in the United States Court House at

               Chicago, Illinois, on the 25th day of August, 2016,

               and that the foregoing is a true and accurate

               transcript of said proceedings.
                                                                .•

                                 u\J\ll1~llQ .ill;\ A.'
                                   Melissa A. Hill, CSR

                                     C\ · \3~ l lL?




                                                                     GJ-TRAN_OOB-000025
. 1   2 Teens
        Case: 1:16-cr-00590  In Roseland«
              Shot By PoliceDocument        CBS
                                      #: 66-1     Chicago
                                              Filed: 06/19/17 Page 27 of 28 PageID #:499


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      2 Teens Shot By Police In Roseland
      December 22, 2013 5:50 PM

      Flied Under. Chicago, Independent Police Review Authority, Police-Involved Shooting, Roseland
                                                                                                                      ---------·
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       (CBS)



                 CHICAGO (STMW) -         Two teenage boys were shot Sunday evening in
                 the Roseland neighborhood when Chicago Police opened fire on a stolen
                 car packed full of joyriders.

                 About 5 p.m., police pulled over a speeding stolen car near 95th and La
                 Salle, according to a statement from the News Affairs office.
                                                                                                                      Sponsored Content                  Recommended by

                 After the car stopped, the driver got out of the car and ran away,                                                      1/1/hy Amy Grant Doesn't Believe
                                                                                                                                         In God Anymore
                 according to the statement. As more officers arrived at the scene, a                                                    NewsN Buzz
                 passenger in the stolen vehicle moved into the driver's seat and put the
                 vehicle in reverse.                                                                                  -                 What Morgan Fairchfld Looks
                                                                                                                                        Like Now Is Crazy
                                                                                                                                        Sportingz
                 Fearing that people in the car could face harm, an officer discharged his


                                                                                                                      H
                 weapon, striking two teenage boys inside the vehicle. They were placed                                                 MamaJuneLost 1001bsand
                                                                                                                                        Actually Looks Gorgeous!
                 into custody and taken to Advocate Christ Medical Center. No officers                                                  Look.Damn.Good.




 http://chicago.cbslocal.com/2013/12/22/at-least-one-shot-by-police-in-rosel... 8/24/2016

                                                                                                                                                 GJ-EXH_001-000019
      Case: 1:16-cr-00590
. , 2 Teens Shot By PoliceDocument  #: 66-1
                           In Roseland      Filed:
                                        « CBS      06/19/17 Page 28 of 28 PageID #:500
                                                Chicago                          Page 2 of3

         were injured during this incident. A weapon was recovered from the
         scene.


         Fraternal Order of Police spokesman Pat Camden's narrative of the
         incident was different from the News Affairs statement. He said there
         were seven people in the car, and after the car stopped, a passenger got
         out through the rear driver's side door. The driver backed up and hit the
         passenger. Officers then began walking up to the car, telling the driver to
         stop, but the car began to pull away, dragging the passenger, Camden
         said.

         Concerned with the safety of the person being dragged, officers opened
         fire on the car, striking two teens inside. Camden said the teens' injuries
                                                                                               MORE NEWS
         were not thought to be life-threatening. Camden also said a replica
         weapon was found in the vehicle.                                                                  7 Killed, 47 Wounded In
                                                                                                           Weekend Shootings Across
                                                                                                           Chicago
        At the scene, a large crowd gathered while the sedan sat about half a




                                                                                               •~
                                                                                                           Peanut TIiiman, Golden
        block north of 95th on La Salle with its front end up against a light pole               '         Knights, Thunderbirds Top Air
        and the passenger doors wide open. Evidence markers littered the street.                           And Water Show Day 2


                                                                                                           Donald Trump: Chicago Could
        Sandra Collins said at the scene that police shot her son, who is a                                Stop Violence 'In One Week'
        student at Kennedy King College.

                                                                                                                            Powere<l by CBS
        "I'm not saying my son was the best, but he was the best ·to me, and the
        police shot him down in cold blood." she said. "My tears are so dried up."

        Her daughter Gabriella Collins, 28, said she and her mother had tried in
        vain to get information from police.

        "Where's the answers? They're hurrying up to get their st.ories straight."
        Gabriella Collins said, expressing frustration with police.

        ·someone needs to explain. Somebody shot my brother," she said.
        "Where's my brother? Where's my brother?"

        A boy, who Sandra Collins said was her youngest son, was handcuffed
        and detained by police after a heated confrontation between the family
        and officers at the scene.

        The Independent Police Review Authority is investigating the shooting.
        The officers were not hurt.

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                                                                                                               GJ-EXH_001-000020
